Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1891        Filed 09/06/16    Page 1 of 9




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,
                                                       File No. 1:97-cr-82
v.
                                                       HON. ROBERT HOLMES BELL
CHARLES WASHPUN,

              Defendant.
                                     /


                                         OPINION

      This matter is before the Court on remand from the Court of Appeals for a review of

the record to determine whether Defendant is eligible for a reduction of sentence under

Amendment 782 of the Guidelines. Upon review, the Court finds that he is not.

                                     I. Background

      In 1998, Defendant Charles Washpun was convicted of conspiracy with intent to

possess and distribute 5 kilograms or more of cocaine and 50 grams or more of cocaine base.

(Second Superseding Indictment, ECF No. 264; Verdict, ECF No. 458.) At sentencing,

Defendant’s base offense level of 38 was calculated using § 2D1.1(c)(1) of the Sentencing

Guidelines, which at the time required a finding that he is responsible for at least 1.5

kilograms of cocaine base.

      In the Presentence Investigation Report (“PSR”), the probation department estimated

that Defendant was responsible for 66 kilograms of cocaine base, based largely on testimony
Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1892          Filed 09/06/16     Page 2 of 9




by Keylen Blackmon, one of the leaders of the conspiracy. The PSR recommended that the

Court consider an upward departure from the Sentencing Guidelines.

       At the sentencing hearing, Defendant’s attorney objected to an upward departure, and

objected to the PSR’s estimate of drug quantity. According to counsel, Blackmon’s testimony

regarding the period from 1991 to 1993 established that Defendant was responsible for only

26 kilograms of cocaine base. In addition, counsel argued that Blackmon’s testimony about

the distribution of cocaine base to co-conspirator Darryl Ford from 1995 to 1997 should not

be attributed to Defendant, or at the very least, Defendant should be held responsible for only

half that amount, which would support a finding that Defendant was responsible for a total

of only 46 kilograms of cocaine base, not 66 kilograms. In response, the Government

indicated that it was not seeking an upward departure, and the Court noted that it was not

considering one. (Sentencing Tr. 7, ECF No. 1400-1.) Counsel conceded that “we’re

obviously talking about over 1.5 kilograms.” (Id. at 6.) Thus, the Court sentenced Defendant

within the Guidelines range to 300 months in prison.

       In 2014, Defendant filed a motion for reduction of his sentence in accordance with

Amendment 782 to the Guidelines, which increased to 25.2 kilograms the quantity of cocaine

base required to qualify for a base offense level of 38. The Court directed the probation

department to prepare a sentence modification report (“SMR”) and appointed counsel for

Defendant. The SMR concluded that Defendant was not eligible for a reduction because his

criminal activity involved at least 66 kilograms of cocaine base. (SMR, ECF No. 1354,

PageID.1408.) Defendant’s counsel agreed that Defendant was not eligible for a reduction


                                             -2-
Case 1:97-cr-00082-PLM      ECF No. 1448, PageID.1893          Filed 09/06/16    Page 3 of 9




because his sentence was based on “a drug weight of 66 kilograms of cocaine base.”

(Response by Def., ECF No. 1361.) The Court accepted this concession and denied the

motion.

       Defendant appealed the Court’s decision, and the Court of Appeals vacated it and

remanded the matter to this Court for a determination of “whether the record supports a

finding that Washpun possessed and distributed more than 25.2 kilograms of cocaine base.”

United States v. Washpun, No. 15-1815, slip op. at 8 (6th Cir. May 23, 2016). Although

Defendant’s counsel (at sentencing and in connection with the motion for reduction of

sentence) conceded that Defendant was responsible for a quantity greater than 25.2 kilograms

of cocaine base, the Court of Appeals held that counsel’s comments could not be considered

because “they were made in a different context.” Id.

       In response to the mandate of the Court of Appeals, this Court appointed counsel for

Defendant and ordered the parties to brief the issue. The Government has filed a brief

arguing that, under a conservative estimate, Defendant is responsible for at least 58.07

kilograms of cocaine base. (ECF No. 1433.) Defendant has filed a reply brief arguing that

he is responsible for only 15.31 kilograms. (ECF No. 1443.)

                                   II. Record Evidence

       At trial, Buddy Marshall testified that he started selling “crack” (i.e. cocaine base)

with Defendant in 1993. (Excerpt of Trial Tr.–Marshall 13, ECF No. 1433-1.) Marshall and

Defendant got their cocaine from Keylen Blackmon. (Id. at 14.)




                                            -3-
Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1894          Filed 09/06/16    Page 4 of 9




       Ambrose Williams testified that he would get crack from Blackmon and drop it off

at “houses,” including Defendant’s house. (Excerpt of Trial Tr.–Williams 11, ECF No. 1433-

1.) Once or twice in 1991, Williams saw Blackmon bring a package of crack the size of a

tennis ball to Defendant’s house. (Id. at 16.) On another occasion in 1991, Williams himself

delivered a tennis-ball sized package of crack to Defendant. (Id.)

       Blackmon testified that he started selling “crack” to Rodney Atkinson “around 1990.”

(Excerpt of Trial Tr.–Blackmon 22-23, ECF No. 1433-1.) That same year, Blackmon began

distributing powder cocaine to Defendant. (Id. at 26.) Blackmon obtained his cocaine from

Chicago and split it with two other individuals. (Id. at 29.) They would cook it to make

cocaine base. (Id.) At one point, Blackmon testified that he started selling cocaine in “rock”

form “around maybe late ‘91, ‘92.” (Def.’s Excerpt of Trial Tr., ECF No. 1401-1,

PageID.1579.) At another point, he stated that he started selling cocaine base “[a]round

1991.” (Excerpt of Trial Tr.–Blackmon 31, ECF No. 1433-1.)

       From 1991 to 1993, Blackmon estimated that he distributed 4.5 ounces of cocaine

base to Defendant, “two or three times a week,” on average. (Id. at 31.) During this time

period, Defendant was working with Darryl Ford. According to Blackmon, working with

Defendant and Ford “was like working with the same person.” (Id. at 33.) Blackmon “could

deliver it to [Ford] or [Defendant]. It didn’t make a difference.” (Id.)

       In 1993, Blackmon moved to Atlanta, but he maintained his business selling cocaine

base in Kalamazoo, Michigan. (Id. at 38-39.) When Blackmon returned to Kalamazoo in

1995, Ford and Defendant were among his customers. (Id. at 40-41.) Starting in 1995,


                                             -4-
Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1895         Filed 09/06/16    Page 5 of 9




Blackmon distributed 9 to 18 ounces of cocaine base per week to Ford, who was still

working with Defendant. (Id. at 43-44.) According to Blackmon, he “could get in contact

with Darryl Ford or [Defendant]. It was – it was the same.” (Id. at 44.) Ford and Defendant

served the same customers, and “[e]verybody would know to go to [Defendant].” (Id. at 44-

45.) Blackmon’s distribution ceased when he was arrested and incarcerated in June of 1997.

(Id. at 43, 105.)

                                       III. Analysis

       When determining the amount of cocaine base that should be attributed to Defendant,

the Government and Defendant have arrived at very different amounts. The biggest reason

for the difference is their choice of time periods during which Defendant was receiving

cocaine base from Blackmon.

       1991 to 1993

       The Government assumes a time period of 24 months from 1991 to 1993 when

Defendant was receiving approximately 4.5 ounces of cocaine base at least two times per

week from Blackmon. But Defendant argues that the applicable time period should be 12

months. Defendant would exclude all of 1991 and all of 1993, because Blackmon stated that

he switched from powder cocaine to cocaine base in “late” 1991, and he did not identify a

specific date when he moved to Atlanta in 1993.

       However, the record supports a period longer than 12 months. Blackmon

unequivocally stated that he distributed 4.5 ounces of cocaine base to Defendant at least two

times per week from 1991 to 1993, which necessarily means that he was distributing cocaine


                                            -5-
Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1896          Filed 09/06/16     Page 6 of 9




base in 1991 and 1993, not just 1992. Moreover, Williams testified that he saw Blackmon

deliver, and Williams himself delivered, tennis-ball sized packages of cocaine base to

Defendant on two or three separate occasions in 1991. In addition, Marshall testified that he

sold cocaine base with Defendant in 1993. Thus, the record supports a finding that Defendant

was involved in distributing cocaine base in 1991, 1992, and 1993. Consequently, an estimate

that is more consistent with the evidence, and yet one that is still very conservative, is that

Defendant received at least 4.5 ounces of cocaine base two times per week for at least 14

months (i.e. from December 1, 1991, to January 31, 1993), which is 61 weeks. 9 ounces a

week for 61 weeks is 549 ounces. At 35.27 ounces per kilogram, this equals 15.56 kilograms.

       1995 to June 1997

       For the period from 1995 to June 1997, the Government assumes two years and five

months (124 weeks) of distribution by Blackmon to Defendant and Ford. This includes all

of 1995, all of 1996, and 5 months in 1997 because Blackmon was incarcerated in June of

that year. Defendant argues that the Court should exclude all of 1995 and assume 17 months

(i.e. from January 1996 to the end of May 1997), because Blackmon did not indicate when

he returned from Atlanta in 1995. However, Blackmon clearly testified that he distributed

cocaine base to Ford and Washpun in 1995; thus, the record supports a finding that at least

part of 1995 should be used. The Court will use a conservative estimate of 78 weeks, which

includes the last month of 1995, all of 1996, and the first five months of 1997.




                                             -6-
Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1897             Filed 09/06/16   Page 7 of 9




       As to the frequency and quantity of distribution, the Government assumes 9 ounces

per week. Defendant’s calculation assumes 9 ounces every other week, ostensibly because

Blackmon’s estimate was primarily about distribution to Ford rather than Defendant.

However, Blackmon also testified that his dealings with Ford and Defendant were like

dealing with the same person. Ford and Defendant even served the same customers. In other

words, Ford and Defendant were working together to distribute the cocaine base received

from Blackmon.

       According to the Guidelines, the relevant conduct for determining the base offense

level includes:

       (1)(A) all acts and omissions committed, aided, abetted, counseled,
       commanded, induced, procured, or willfully caused by the defendant; and

       (B) in the case of a jointly undertaken criminal activity (a criminal plan,
       scheme, endeavor, or enterprise undertaken by the defendant in concert with
       others, whether or not charged as a conspiracy), all acts and omissions of
       others that were--

              (i) within the scope of the jointly undertaken criminal activity,

              (ii) in furtherance of that criminal activity, and

              (iii) reasonably foreseeable in connection with that criminal activity;

       that occurred during the commission of the offense of conviction, in
       preparation for that offense, or in the course of attempting to avoid detection
       or responsibility for that offense;

U.S.S.G. § 1B1.3(a).




                                             -7-
Case 1:97-cr-00082-PLM       ECF No. 1448, PageID.1898          Filed 09/06/16    Page 8 of 9




       The record supports a finding that the cocaine base given to Ford was part of the same

scheme undertaken by Defendant, Blackmon and Ford, acting in concert, to distribute those

drugs. Thus, for purposes of sentencing, Defendant is responsible for the drugs distributed

to Ford in 1995 to 1997.

       78 weeks times 9 ounces per week is 702 ounces, which equals 19.90 kilograms.

Adding this quantity to 15.56 kilograms for the period from 1991 to 1993 results in 35.46

kilograms, which is far greater than 25.2 kilograms of cocaine base.

       Even if the Court were to attribute half of the 19.90 kilograms of cocaine base to

Defendant, in line with Defendant’s suggested calculation of 9 ounces every other week, the

total amount for both time periods would be 25.51 kilograms, which is still greater than 25.2

kilograms.

       Defendant urges the Court to use a conservative estimate and to err on the side of

caution. The Court has done so. It used the lower amounts in the range of estimates provided

by Blackmon. Blackmon testified that he distributed 4.5 ounces two or three times per week

from 1991 to 1993. The Court assumed twice per week. The Court did not include the two

or three large packages from Williams’ testimony, and the Court included only one month

in each of 1991 and 1993. Blackmon also testified that he distributed 9 to 18 ounces per week

from 1995 to June 1997. The Court used the lower amount and included only one month in

1995. Indeed, the Court’s total estimate for purposes of this Opinion is far lower than the 66




                                            -8-
Case 1:97-cr-00082-PLM        ECF No. 1448, PageID.1899         Filed 09/06/16     Page 9 of 9




kilograms estimated by the PSR, and the 46 kilograms argued by Defendant’s counsel at the

initial sentencing hearing.

                                      IV. Conclusion

       In short, the record supports a finding that Defendant is responsible for possession and

distribution of more than 25.2 kilograms of cocaine base. Consequently, he is not eligible for

reduction of his sentence under Amendment 782.

       An order will enter consistent with this Opinion.



Dated: September 6, 2016                           /s/ Robert Holmes Bell
                                                   ROBERT HOLMES BELL
                                                   UNITED STATES DISTRICT JUDGE




                                             -9-
